                                                       IT IS ORDERED
                                                       Date Entered on Docket: October 15, 2014




                                                       ________________________________
                                                       The Honorable Robert H Jacobvitz
                                                       United States Bankruptcy Judge

______________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

  In Re: Fred Dale Van Winkle,

        Debtor.                                                         No. 13-11743-J7

                           ORDER AUTHORIZING TRUSTEE
                          TO SELL PROPERTY OF THE ESTATE

        THIS MATTER came on before the Court on the Trustee’s Motion to Sell Property

  of the Estate filed herein on September 19, 2014 (DOC 38).

  The Court FINDS that notice of the filing of said Motion was mailed to all creditors and

  parties in interest herein on September 19, 2014 (DOC 39); that the deadline for filing

  objections to said Motion, including 3 days for mailing expired on October 14, 2014; no

  objections or responsive pleadings have been filed. It is therefore

        ORDERED that the Trustee’s Motion is granted and Trustee is authorized to sell

  the property of the estate to Tammy Sprague for $12,500.00 upon the terms and

  conditions set forth in the Motion, payable in cash upon entry of this Order.

                                 ### END OF ORDER ###




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